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 8                                      UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11       KEYTHAN MICHAEL JONES SLAISE,                         1:23-cv-00650 HBK (PC)

12                         Plaintiff,                          ORDER GRANTING APPLICATION TO
                                                               PROCEED IN FORMA PAUPERIS
13             v.
                                                               (Doc. No. 4)
14       NICOLE A. SILVEIRA, et al.,
                                                               ORDER DIRECTING INITIAL AND
15                         Defendants.                         SUBSEQUENT PAYMENTS
                                                               OF FILING FEE BY THE JOHN
16                                                             LATORRACA CORRECTIONAL
                                                               FACILITY
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20            Plaintiff, a prisoner, initiated this action on January 18, 2023, by filing a pro se civil rights

21   complaint pursuant to 42 U.S.C. § 1983. (Doc. No. 1, Complaint). Plaintiff seeks leave to

22   proceed in forma pauperis on his Complaint (Doc. No. 4) and submitted a copy of his prison trust

23   fund statement and/or certification from prison officials in support. (Doc. No. 2). Plaintiff has

24   made the showing required by § 1915(a) to proceed in forma pauperis but remains obligated to

25   pay the full $350.00 statutory filing fees as set forth in 28 U.S.C. § 1915. Pursuant to §

26   1915(b)(1)(A), Plaintiff is obligated to make an initial payment of $7.001 (20% of the

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      The statute requires an initial filing fee of 20% of the greater of the six-months average monthly deposits
28   or average monthly balance. 28 U.S.C. § 1915(b)(1)(A), (B). Plaintiff averaged monthly deposits of
     $35.00 over the relevant six-month period. (Doc. No. 4 at 2).
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 1   average 6-month deposits to the prisoner’s account). Thereafter, Plaintiff must make monthly

 2   payments of 20% of the preceding month’s income credited to his trust account. The John

 3   Latorraca Correctional Facility is required to send the initial $7.00 payment to the Clerk of the

 4   Court and subsequent payments from Plaintiff’s account each time the amount in his account

 5   exceeds $10.00, until the statutory filing fee is paid in full. 28 U.S.C. § 1915(b)(2).

 6            ACCORDINGLY, it is ORDERED:

 7            1. Plaintiff's motion to proceed in forma pauperis (Doc. No. 4) is GRANTED.

 8            2. The John Latorraca Correctional Facility County Sheriff, or his designee shall

 9   forward an initial payment of $7.00 to the Clerk of the Court from Plaintiff’s prison trust

10   account in accordance with 28 U.S.C. § 1915(b)(1)(B) and shall make future monthly

11   payments in an amount equal to twenty percent (20%) of the preceding month’s income

12   credited to the Plaintiff’s trust account each time the amount in the account exceeds $10.00,

13   in accordance with 28 U.S.C. § 1915(b)(2), until a total of $350.00 has been collected and

14   forwarded to the Clerk of the Court. The payments shall be clearly identified by the name and

15   number assigned to this action.

16            3. The Clerk of the Court is directed to serve a copy of this order and a copy of Plaintiff’s

17   in forma pauperis application on the Secretary of the California Department of Corrections, via

18   the court’s electronic case filing system (CM/ECF).

19            4. The Clerk of the Court is directed to serve a copy of this order on the Financial

20   Department, U.S. District Court, Eastern District of California.
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     Dated:      June 8, 2023
23                                                       HELENA M. BARCH-KUCHTA
                                                         UNITED STATES MAGISTRATE JUDGE
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